      Case 2:12-cr-00383-JCM-CWH            Document 117       Filed 07/07/14     Page 1 of 1



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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )                Case No. 2:12-cr-0083-JCM-CWH
                                                                          2:12-cr-00383-JCM-CWH
 8                     Plaintiff,              )
                                               )                ORDER
 9   vs.                                       )
                                               )
10   OCTAVIO CESAR AREVALO, et al.,            )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant Octavio Cesar Orevalo’s Motion to Dismiss
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     (#80), filed March 3, 2014, and the Government’s Response (#97), filed April 4, 2014. The Court
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     also granted Defendant Porfirio Infante-Cervantes’ Motion for Joinder (#100) to the motion to
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     dismiss. On June 23, 2014, Defendant Infante-Cervantes entered into a plea agreement, which was
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     accepted by the Court. See Mins. of Proceedings (#109). The undersigned has been informed that
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     Defendant Octavio Cesar Orevalo has also entered into a plea agreement and a change of plea
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     hearing is currently scheduled for July 15, 2014. Consequently, motion to dismiss (#80) is now
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     moot. Accordingly,
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            IT IS HEREBY ORDERED that Defendant Octavio Cesar Orevalo’s Motion to Dismiss
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     (#80) is denied without prejudice as moot.
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            IT IS FURTHER ORDERED that the hearing currently scheduled for July 8, 2014 before
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     the undersigned magistrate judge is hereby vacated.
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            DATED: July 7, 2014.
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27                                                ______________________________________
                                                  C.W. Hoffman, Jr.
28                                                United States Magistrate Judge
